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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                West Palm Beach Division

In re:
                                                                Case No. 16-26187-RAM
Sixty Sixty Condominium Association, Inc.,                      Chapter 11

      Debtor-in-Possession.
_______________________________/

             DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

                                     FOR THE PERIOD
                          FROM November 1, 2017 to November 30, 2017

Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.



                                                          /s/ Brett Lieberman
                                                         Attorney for Debtor’s Signature


Debtor's Address                                         Attorney's Address
and Phone Number:                                        and Phone Number:

c/o Alessandra Stivelman, Esq.                           Messana, P.A.
4000 Hollywood Boulevard, #265-S                         c/o Brett D. Lieberman, Esq.
Hollywood, FL 33021                                      401 East Las Olas Boulevard, Suite 1400
954-894-8000                                             Fort Lauderdale, FL 33301
                                                         954-712-7400


Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 20th day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
States Trustee Program Website, http://www.usdoj.gov/ust/r21/reg_info.htm
1)      Instructions for Preparations of Debtor’s Chapter 11 Monthly Operating Report
2)      Initial Filing Requirements
3)      Frequently Asked Questions (FAQs)http://www.usdoj.gov/ust/




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                                            Bank Account Reconciliation Worksheet
                                                           City National Bank (2163)
                                                      November 1, 2017 - November 30, 2017
   Reference      Date              GL Account   Description                                                           Amount

Reconciled Bank Information

                                                                                                Ending Bank Balance    90,863.95
Open Deposits & Additions
      Dep.4 11/28/17                      1200   ManCR Batch # 1711287688                                               1,647.30
      Dep.5 11/30/17                      1200   ManCR Batch # 1711308008                                                 122.42
                                                                                                               Total    1,769.72
Open Checks & Payments
       2015 10/27/17                      7530   U.S. Trustee                                                             325.00
       2017 11/10/17                      7530   Juda, Eskew & Associates, P.A.                                           134.61
       2020 11/15/17                      7505   U.S. Legal Support, Inc.                                               3,192.00
       2022 11/15/17                      7505   U.S. Legal Support, Inc.                                                 932.00
       2023 11/15/17                      7505   U.S. Legal Support, Inc.                                                 982.50
                                                                                                               Total    5,566.11

                                                                                             Reconciled Bank Balance   87,067.56

Bank Account Reconcilation Summary

Bank Statement Information
Beginning Bank Balance                                                                                                 93,921.73
  + Cleared Deposits & Additions                                                                                        3,810.77
  - Cleared Checks & Payments                                                                                           6,868.55
Ending Bank Balance                                                                                                    90,863.95

Reconciled Bank Information
 + Open Deposits & Additions                                                                                            1,769.72
  - Open Checks & Payments                                                                                              5,566.11
Reconciled Bank Balance                                                                                                87,067.56

General Ledger Information
Unadjusted General Ledger Balance                                                                                      87,067.56
 +/- Total Adjustments                                                                                                      0.00
Adjusted General Ledger Balance                                                                                        87,067.56

Unreconciled Amount                                                                                                         0.00
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